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 6
 7
 8                                 UNITED STATES DISTRICT COURT
 9                                       DISTRICT OF NEVADA
10
11    MICHAEL ERWINE,                                       Case No.: 3:24-cv-00045-MMD-CSD
12
                  Plaintiff,
13                                                          CHURCHILL COUNTY AND BEN
      vs.                                                   TROTTER’S MOTION TO DISMISS
14                                                          PLAINTIFF’S COMPLAINT WITH
      UNITED STATES OF AMERICA,                             PREJUDICE AND MOTION FOR
15    CHURCHILL COUNTY, a political subdivision             SANCTIONS PURSUANT TO FRCP 11
      of the State of Nevada; CHURCHILL
16    COUNTY SHERIFF BENJAMIN TROTTER;
      UNITED STATES OF AMERICA, ZACHARY
17    WESTBROOK, JON LEONARD, MICHEL
      HALL, GENE BURK; and DOES I through X
18    inclusive,
19                   Defendants.
20
21           COME NOW, Defendants CHURCHILL COUNTY and BENJAMIN TROTTER, by and
22    through their attorneys, Thorndal Armstrong, PC, and pursuant to FRCP 12(b)(6), hereby move
23    to dismiss Plaintiff’s Complaint with prejudice and without leave to amend for failure to state a
24    claim upon which relief may be granted. Further, and based upon the frivolous filing of this
25    Complaint against Churchill County and Benjamin Trotter, Defendants request sanctions
26    pursuant to FRCP 11.
27    ///
28    ///


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 1           This motion is made and based upon the pleadings on file herein, all exhibits submitted
 2    herewith and the memorandum of points and authorities set forth below.
 3           DATED this 15th day of February, 2024.
 4
                                                  THORNDAL ARMSTRONG, PC
 5
 6                                                By:     /s/ Katherine Parks
                                                          KATHERINE F. PARKS, ESQ.
 7
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10                                                        BENJAMIN TROTTER

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 7
 8                                 UNITED STATES DISTRICT COURT
 9                                       DISTRICT OF NEVADA
10
11    MICHAEL ERWINE,                                        Case No.: 3:24-cv-00045-MMD-CSD
12
                   Plaintiff,
13                                                           MEMORANDUM OF POINTS AND
      vs.                                                    AUTHORITIES IN SUPPORT OF
14                                                           CHURCHILL COUNTY AND BEN
      UNITED STATES OF AMERICA,                              TROTTER’S MOTION TO DISMISS
15    CHURCHILL COUNTY, a political subdivision              PLAINTIFF’S COMPLAINT WITH
      of the State of Nevada; CHURCHILL                      PREJUDICE AND MOTION FOR
16    COUNTY SHERIFF BENJAMIN TROTTER;                       SANCTIONS PURSUANT TO FRCP 11
      UNITED STATES OF AMERICA, ZACHARY
17    WESTBROOK, JON LEONARD, MICHEL
      HALL, GENE BURK; and DOES I through X
18    inclusive,
19                   Defendants.
20
21                                                     I
22                                           INTRODUCTION
23           The filing of the instant lawsuit against Churchill County and Ben Trotter, the former
24    Sheriff of Churchill County, is in blatant violation of Rule 11 of the Federal Rules of Civil
25    Procedure. That this statement is true cannot seriously be questioned. This is so because, on
26    March 7, 2023, following oral arguments heard by the Court on February 14, 2023, Michael
27    Erwine and his attorney, Luke Busby, were informed by the Ninth Circuit Court of Appeals that
28    Erwine “does not have a viable stigma-plus due process claim against Sheriff Trotter a matter of


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 1    law.” Further, on March 7, 2023, Erwine and Busby were informed by the Ninth Circuit that,
 2    “[b]ecause Erwine’s claim under Monell v. Department of Social Services of City of New York,
 3    436 U.S. 658 (1978), against Churchill County is indistinguishable from his claim against Sheriff
 4    Trotter, the same grounds support affirmance of the district court’s order granting summary
 5    judgment in Churchill County’s favor.” The decision of the Ninth Circuit is attached for ease of
 6    reference as Exhibit 1. On March 19, 2023, Erwine filed a Petition for Panel Rehearing and
 7    Rehearing En Banc in the Ninth Circuit Court of Appeals. See, Exhibit 2. On April 25, 2023,
 8    the Ninth Circuit denied Erwine’s Petition for Rehearing. See, Exhibit 3, order dated April 25,
 9    2023.
10            On June 1, 2023, Erwine filed a Petition for Writ of Certiorari of the Ninth Circuit’s
11    decision to the United States Supreme Court. See, Exhibit 4. On October 4, 2023, the United
12    States Supreme Court denied Erwine’s Petition for Writ of Certiorari. See, Exhibit 5. On
13    October 5, 2023, the Ninth Circuit Court of Appeals issued its Mandate following denial of
14    Erwine’s Petition for Writ of Certiorari by the United States Supreme Court. See, Exhibit 6,
15    Mandate.
16            These orders stem from Erwine’s appeal of the decision of Judge Robert Jones in Case
17    No. 3:18-cv-00461-RCJ-WGC granting summary judgment in favor of Churchill County and
18    Ben Trotter on Erwine’s claim that Ben Trotter violated his protected liberty interests without
19    due process of law in violation of the Fifth and Fourteenth Amendments of the United States
20    Constitution and that Churchill County was liable under 42 U.S.C. §1983 for the actions of Ben
21    Trotter as an officer of the County with final policy-making authority. See, Exhibit 7, order
22    granting summary judgment in favor of Defendants in Case No. 3:18-cv-00461-RCJ-WGC.
23    Judge Jones’ order was entered after nearly four years of litigation between the identical parties
24    to the instant lawsuit. Erwine’s first lawyer, Jason Guinasso, filed a Complaint in this Court on
25    September 28, 2018, stemming from Erwine’s termination from employment as a deputy with
26    the Churchill County Sheriff’s Office on October 10, 2016. See, Doc. #1, Case No. 3:18-cv-
27    00461-RCJ-WGC. Erwine changed lawyers (shortly after the parties participated in an Early
28    Neutral Evaluation with Magistrate Judge Carla Baldwin on February 4, 2019, as noted in Doc.


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 1    #18 in Case No. 3:18-cv-00461) to Busby, after which he filed an Amended Complaint on behalf
 2    of his client on August 6, 2020. See, Exhibit 8, Amended Complaint, Case No. 3:18-cv-00461.
 3    Busby, on behalf of Erwine, pled the following causes of action in his Amended Complaint: (1)
 4    a violation by Ben Trotter of Plaintiff’s alleged protected liberty interest without due process of
 5    law in violation of the Fifth and Fourteenth Amendments of the United States Constitution based
 6    on the allegation that Ben Trotter made false and stigmatizing statements about him in a
 7    memorandum authored by Trotter on October 10, 2016; (2) that the violation of his alleged
 8    protected liberty interest was done by then-Sheriff Ben Trotter, a final policy-making official for
 9    Churchill County, thereby entitling Erwine to damages against Churchill County under §1983
10    and Monell; (3) violation of the Due Process Clause of the Nevada Constitution; (4) tortious
11    discharge in violation of public policy; (5) defamation; (6) defamation per se; and (7) intentional
12    interference with prospective employment. Id.1
13           Now, more than seven years after Erwine’s termination from the Churchill County
14    Sheriff’s Office, and after more than five years of litigation between Erwine and the moving
15    Defendants relative to his termination, Busby, on behalf of Erwine, has sued Ben Trotter and
16    Churchill County in this new lawsuit for the following causes of action: (1) a violation by Ben
17    Trotter of Plaintiff’s alleged protected liberty interest without due process of law in violation of
18    the Fifth and Fourteenth Amendments of the United States Constitution based on the allegation
19    that Ben Trotter made false and stigmatizing statements about him in a memorandum dated
20    October 10, 2016 (See, Doc. #1 in the instant matter, Complaint, Second Claim for Relief); (2)
21    that the violation of his alleged protected liberty interest was done by then-Sheriff Trotter, a final
22    policy-making official for Churchill County, thereby entitling Erwine to damages against
23    Churchill County under §1983 and Monell (Id. at Third Claim for Relief); (3) defamation; (4)
24    defamation per se; and (5) intentional interference with prospective employment.
25           The allegations filed against Churchill County and Ben Trotter are so obviously barred by
26    the doctrine of res judicata that a contrary position cannot be reasonably maintained. In many
27
      1The state tort claims were dismissed by Judge Jones on jurisdictional grounds. See, Exhibit 5, p.
28    21. Erwine did not re-file these claims in state court as permitted by 28 U.S.C. §1367(d) and his
      right to do so is now barred by the limitations period set forth therein.
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 1    instances in the Complaint filed in this case, Erwine and Busby do not even bother to change the
 2    language of their “new” claims for relief and, instead, appear to have cut and pasted numerous
 3    allegations from the Amended Complaint filed on August 6, 2020, in the first action.
 4           The Ninth Circuit Court of Appeals has held, as a matter of law, that Erwine does not
 5    have a viable liberty interest due process claim against Ben Trotter or a viable Monell claim
 6    against Churchill County. See, Exhibit 1. That Busby has filed identical claims for relief on
 7    behalf of his client in the instant lawsuit is ludicrous and in direct contravention of his
 8    obligations under FRCP 11. Churchill County and Ben Trotter should be dismissed from this
 9    lawsuit and sanctions should be levied against Erwine and Busby pursuant to Rule 11 for their
10    conduct.
11                                                      II
12                                         UNDERLYING FACTS
13           Because the claims of Erwine brought against Churchill County and Ben Trotter have
14    already been litigated, the underlying facts are not in dispute and are set forth in the order of
15    Judge Jones granting summary judgment in favor of Churchill County and Trotter dated March
16    9, 2022. Erwine worked as a probationary deputy sheriff for the Churchill County Sheriff’s
17    Office from December 9, 2015, until October 10, 2016. See, Exhibit 6, p. 2, line 2-3. This
18    employment came after Erwine previously, and unsuccessfully, applied with numerous law
19    enforcement agencies for work. Id. at lines 3-5. Erwine’s background includes an arrest for
20    driving under the influence in 2011. Id. at lines 8-10. During his employment with the Churchill
21    County Sheriff’s Office, Erwine’s supervisors noted that he had issues with accountability and
22    taking responsibility for his actions. Id. at lines 17-18. In his Amended Complaint filed in the
23    prior action, Erwine claimed to have witnessed other officers with the Sheriff’s Office
24    committing inappropriate actions against inmates, including Andrew Beaulieu and Michael
25    Maes. Id. at pp. 3-6.
26           On October 10, 2016, Ben Trotter met with Erwine and gave him the choice to resign or
27    be terminated. Id. at p. 6, lines 3-4. Erwine resigned. Id. at lines 5-6. On the same day, Trotter
28    placed a memorandum in Erwine’s personnel file summarizing the information which formed the


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 1    basis of Trotter’s decision to terminate Erwine’s employment. Id. at 5-10. The memorandum
 2    was provided to the Washoe County Sheriff’s Office when it requested a copy of Erwine’s
 3    personnel file on December 6, 2016, in in connection with his application for employment with
 4    that agency. Id. at p. 7, lines 15-16; see also, Doc. #1, Amended Complaint (in this case) ¶63.
 5    Erwine was notified of his rejection from employment by the Washoe County Sheriff’s Office on
 6    January 17, 2017. See, Exhibit 1, p. 6, lines 17-19. Erwine was also rejected from employment
 7    by the Las Vegas Metropolitan Police Department on or about February 7, 2017. Id. at p. 6, lines
 8    20-21. It was alleged in the prior action (and is alleged in the case at bar) that Trotter spoke to
 9    someone with LVMPD regarding Erwine’s termination from employment with the Churchill
10    County Sheriff’s Office prior to Erwine’s rejection from employment by that agency. Id. at p. 8,
11    lines 5-9; see also, Doc. #1, p. 9, ¶66. In April of 2018, Erwine was provided with a copy of his
12    personnel file by Churchill County and learned of the Trotter memorandum. See, Doc. #1, ¶94.
13    As noted above, Erwine filed suit against Churchill County based upon the facts and
14    circumstances underlying his termination from the Churchill County Sheriff’ Office on August 6,
15    2020.
16                                                     III
17                               DISMISSAL OF CASE NO. 3:18-cv-00461
18            As noted above, Judge Jones entered an order granting summary judgment in favor of
19    Churchill County and Ben Trotter in the prior lawsuit on March 3, 2022. In his order, Judge
20    Jones made the following findings: (1) that Erwine failed to establish a prima facie stigma-plus
21    claim for the alleged violation of his liberty interests without due process of law and (2) that
22    Erwine’s claim brought against the County under Monell was subject to dismissal because it was
23    based solely on the actions of Trotter as a final-policy making official. See, Exhibit 6. Judge
24    Jones held that Erwine failed to put forth evidence that the Trotter memorandum effectively
25    excluded him from his chosen profession or that it was the Trotter memorandum that caused his
26    difficulties in obtaining employment, rather than his criminal record, lack of experience, or any
27    other aspect that potential employers would consider. Id. at p. 14. In addition to granting
28    summary judgment in favor of the County and Ben Trotter on Plaintiff’s liberty interest due


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 1    process claim, the Court dismissed his state law claims on jurisdictional grounds.
 2            Erwine appealed to the Ninth Circuit Court of Appeals and the Court held oral arguments
 3    on February 14, 2023. On March 7, 2023, the Ninth Circuit affirmed Judge Jones’ order. In so
 4    doing, the Ninth Circuit Court of Appeals held that, in order for Erwine “to state a viable
 5    “stigma-plus” due process claim, Erwine must show that the allegedly stigmatizing statements in
 6    the Trotter Memorandum were the cause of his loss of employment opportunities in his chosen
 7    profession as a law enforcement officer.” See, Exhibit 1, p. 2. As to this legal question, the
 8    Court held the following:
 9
                        “The district court properly concluded that Erwine does not have a viable
10                      stigma-plus due process claim against Sheriff Trotter as a matter of law.
                        Erwine has failed to put forth evidence showing that the Trotter
11                      Memorandum was the cause of his inability to find employment as a police
                        officer in the State of Nevada – outside of the tribal police force – after his
12
                        resignation.”
13
      Id. at pp. 2-3.
14
15            The Ninth Circuit further held as follows:

16                      “There is no evidence in the record that it was the Trotter Memorandum,
                        rather than Erwine’s criminal record, lack of experience, or any other aspect
17                      that potential employers would consider, that caused four of the six agencies
18                      to deny his application. And ‘[s]tigmatizing statements that merely cause
                        ‘reduced economic returns and diminished prestige . . .’ do not constitute a
19                      deprivation of liberty.’ Blantz v. Cal. Dep’t. of Corr. & Rehab., 727 F.3d 917,
                        925 (9th Cir. 2013)(quoting Stretten v. Wadsworth Veterans Hospital, 537 F.3d
20                      361, 366 (9th Cir. 1976).”
21
      Id. at pp. 3-4.
22
              The Ninth Circuit further held as follows:
23
24                      “Nor did the district court err by dismissing Erwine’s associated claim
                        against Churchill County. Because Erwine’s claim under Monell v.
25                      Department of Social Services of City of New York, 436 U.S. 658 (1978),
                        against Churchill County is indistinguishable from his claim against Sheriff
26
                        Trotter, the same legal grounds support affirmance of the district court’s
27                      order granting summary judgment in Churchill County’s favor.”

28    Id. at pp. 4-5.


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 1            As noted above, the Ninth Circuit denied Erwine’s Petition for Rehearing and the United
 2    States Supreme Court denied his Petition for Writ of Certiorari. The Ninth Circuit’s order took
 3    effect on October 5, 2023, with the issuance of the Ninth Circuit’s mandate.
 4            Now, in obvious disregard of the decision of the Ninth Circuit Court of Appeals, Busby,
 5    on behalf of Erwine, has sued Churchill County and Ben Trotter based on facts and legal claims
 6    that are indistinguishable from those which have been dismissed as a matter of law.
 7                                                       IV
 8                                             LEGAL ANALYSIS
 9    A.      STANDARD OF REVIEW
10            Churchill County and Ben Trotter are entitled to dismissal with prejudice of Erwine’s
11    Complaint pursuant to Rule 12(b)(6) of the Federal Rules of Civil Procedure for failure to state a
12    claim upon which relief may be granted. Dismissal under FRCP 12(b)(6) is appropriate where
13    the plaintiff has not alleged sufficient facts to state a claim for relief that is plausible on its face.
14    Turner v. City and County of San Francisco., 788 F.3d 1206, 1210 (9th Cir. 2015). “In assessing
15    whether a party has stated a claim upon which relief can be granted, a court must take all
16    allegations of material fact as true and construe them in the light most favorable to the non-
17    moving party; but ‘conclusory allegations of law and unwarranted inferences are insufficient to
18    avoid a Rule 12(b)(6) dismissal.’” Id.; citing Cousins v. Lockyer, 568 F.3d 1063, 1067 (9th Cir.
19    2009). A claim has “facial plausibility” when a plaintiff pleads factual content that allows the
20    court to draw a reasonable inference that the defendant is liable for the misconduct alleged.
21    Ashcroft v. Iqbal, 556 U.S. 662, 678, 129 S. Ct. 1937 (2009).
22            Erwine’s Complaint against the moving Defendants is subject to summary dismissal for
23    failure to state a claim upon which relief may be granted. Erwine’s claims against Churchill
24    County and Ben Trotter are entirely barred by the doctrine of res judicata. In addition, Erwine
25    alleges no conduct on the part of Ben Trotter or anyone associated with Churchill County that
26    took place after, at the latest, February 7, 2017 (when Erwine learned he had been rejected from
27    employment by LVMPD). As such, any alleged “new” claims (of which there are none) would
28    be long barred by the statutes of limitations applicable to same.


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       B.        ERWINE’S COMPLAINT MUST BE DISMISSED PURSUANT TO THE
 1               DOCTRINE OF RES JUDICATA.
 2               There are two components of res judicata: claim preclusion and issue preclusion. Claim
 3     preclusion treats a judgment once rendered as the full measure of relief to be accorded between
 4     the same parties on the same claim or cause of action. Robi v. Five Platters, Inc., 838 F.2d 318,
 5     321 (9th Cir. 1988). Claim preclusion “prevents litigation of all grounds for, or defenses to,
 6     recovery that were previously available to the parties, regardless of whether they were asserted
 7     or determined in the prior proceedings.” Brown v. Felsen, 442 U.S. 127, 131, 99 S. Ct. 2205
 8     (1979).
 9               Claim preclusion applies under federal law when there is (1) an identity of claims; (2) a
10     final judgment on the merits; and (3) identity or privity between the parties. Cell Therapeutics,
11     Inv. v. Lash Group, Inc., 586 F.3d 1204, 1212 (9th Cir. 2009). In determining whether two suits
12     involve the same claim or cause of action, the Courts analyze the following four criteria: (1)
13     whether the two suits arise out of the same transactional nucleus of facts; (2) whether the rights
14     or interests established in the prior judgment would be destroyed or impaired by prosecution of
15     the second action; (3) whether the two suits involve infringement of the same right; and (4)
16     whether substantially the same evidence is presented in the two actions. Mpoyo v. Litton
17     Electro-Optical Systems, 430 F.3d 985, 987 (9th Cir. 2005). “Whether two events are part of the
18     same transaction or series depends on whether they are related to the same set of facts and
19     whether they could conveniently be tried together.” Id.
20               There is simply no valid argument for any contention that the claims brought against the
21     County and Ben Trotter in the instant matter are not subject to dismissal under the doctrine of
22     claim preclusion. With respect to the identity of claims, Erwine sued the County and Trotter in
23     Case No. 3:18-cv-00461-RCJ-WGC for allegedly violating his due process liberty interest rights
24     based upon the Trotter memorandum prepared on October 10, 2016. More specifically, Erwine
25     claimed in the first case that his due process liberty interest rights were violated based upon
26     alleged “false and stigmatizing comments” made by Trotter in the memorandum which were
27     allegedly disclosed to other law enforcement agencies. See, Exhibit 7, p. 19-20. Erwine’s claim
28     for municipal liability against Churchill County was based upon the same claim and was


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 1     grounded on Trotter’s position as a final policy-making official for the County at the time of the
 2     events in question. Id. at pp. 20-22.
 3            The claims brought against Churchill County and Trotter in the new Complaint are
 4     identical to those set forth in the first case. In his new Complaint, Erwine claims that he is
 5     entitled to damages against Ben Trotter for violation of his “protected liberty interest” based
 6     upon “false and stigmatizing statements” contained in the Trotter memorandum. See, Doc. #1, p.
 7     31, Second Claim for Relief. In his new Complaint, Erwine claims that he is entitled to damages
 8     against Churchill County under Monell because Ben Trotter was a final policy-making official
 9     with Churchill County at the time of the events of October, 2016. Id. at p. 32-34. Numerous of
10     the allegations in Erwine’s new Complaint appear to have simply been cut and pasted from the
11     Amended Complaint filed against the moving Defendants on August 6, 2020, in the first lawsuit.
12            It simply cannot be argued that these claims were not litigated to a final judgment. The
13     Ninth Circuit Court of Appeals has held, without question, that Erwine “does not have a viable
14     stigma-plus due process claim against Sheriff Trotter as a matter of law.” See, Exhibit 1,
15     Memorandum, p. 2. Similarly, the Ninth Circuit held that Judge Jones was correct in dismissing
16     Erwine’s Monell claim against Churchill County. Id. at p. 4. Erwine went on to appeal the Ninth
17     Circuit’s decision to the United States Supreme Court which denied his Petition for Writ of
18     Certiorari on October 4, 2023. See, Exhibit 5.
19            That there is identity of parties in the two lawsuits is also uncontroverted.
20            It also cannot be plausibly argued that the two lawsuits in question do not arise out of the
21     same transactional nucleus of fact. In that regard, the factual allegations made against Trotter
22     and Churchill County in this case are identical to those set forth in the first lawsuit. As is true
23     with respect to his legal claims, Erwine appears to have cut and pasted many of the factual
24     allegations set forth in his new lawsuit from those in the first. The factual allegations in both
25     cases are based on Plaintiff’s allegations that, during his employment with the Churchill County
26     Sheriff’s Office from December 9, 2015, to October 10, 2016, he witnessed mistreatment of
27     several inmates, Andrew Beaulieu and Matthew Maes, that he was terminated after he allegedly
28     attempted to bring the issue up command staff, and that Trotter placed “false and stigmatizing”


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 1     comments in a memorandum regarding his termination on October 10, 2016. The nucleus of
 2     facts is identical in the two lawsuits and Erwine has alleged no new actions of Trotter or anyone
 3     associated with Churchill County which were not raised in the first suit.2
 4            It is also apparent that the rights and interests of Churchill County and Ben Trotter
 5     established by the Ninth Circuit’s decision in the first case, a decision that followed five years
 6     and six days of litigation, would be destroyed if Erwine were permitted to re-litigate the identical
 7     claims in this case. Plain and simply, the moving Defendants have already been vindicated by
 8     the Ninth Circuit Court of Appeals and the United States Supreme Court by virtue of the
 9     Supreme Court’s order denying Erwine’s Petition for Writ of Certiorari. Permitting the moving
10     Defendants to be sued again for the very same claims is contrary to the very purpose underlying
11     the doctrine of res judicata.
12            That the two lawsuits involve the alleged infringement of the same right is also patently
13     evident, in that the causes of action brought in both cases, an alleged violation of Erwine’s due
14     process liberty interest right, are identical. Further, the two lawsuits will be entirely based upon
15     the same evidence and events that took place more than eight years ago.
16            Each and every element of the doctrine of claim preclusion is applicable to the claims
17     brought against Churchill County and Ben Trotter in the instant matter. The Ninth Circuit Court
18     of Appeals has held, unequivocally, that Erwine has no viable claim against the moving
19     Defendants for the federal claims set forth in his Complaint and summary dismissal of the
20     Complaint for failure to state a claim must be granted.
21            The doctrine of issue preclusion prevents re-litigation of all issues of fact or law that were
22     actually litigated and necessarily decided in a prior proceeding. Wolfson v. Brammer, 616 F.3d
23     1045, 1065 (9th Cir. 2010). Under the doctrine of issue preclusion, a party is precluded from re-
24     litigating issues of fact or law if four elements are met: (1) there was a full and fair opportunity
25
       2Neither Trotter nor the County had anything whatsoever to do with Erwine (outside of the five
26
       years they spent in litigation with him in the first case) after the end of December, 2016 (when
27     the County provided the Washoe County Sheriff’s Office with a copy of Plaintiff’s personnel file
       upon WCSO’s request for same) or the very beginning of 2017 (prior to the time Erwine’s
28     application for employment with LVMPD was rejected) when it is alleged Trotter spoke to
       someone with LVMPD about the Plaintiff.
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 1     to litigate the issue in the previous action; (2) the issue was actually litigated; (3) there was a
 2     final judgment on the merits; and (4) the person against whom issue preclusion is asserted was a
 3     party to or in privity with a party in the previous action. Id. at 1064. If these four elements are
 4     met, the factual or legal issue is precluded, even if it is presented under the guise of a new legal
 5     theory or on the basis of new evidence.
 6             The doctrine of issue preclusion also prevents Erwine from re-litigating the factual claim
 7     that the Trotter Memorandum was or is the cause of his inability to find employment as a police
 8     officer after his termination from the Churchill County Sheriff’s Office. This central fact issue
 9     was decided by the Ninth Circuit Court of Appeals. See, Exhibit 1, p. 3. The issue of law,
10     whether Trotter and Churchill County violated Erwine’s due process liberty interests as a result
11     of the events surrounding his termination on October 10, 2016, has also been fully litigated
12     through final judgment and decided against Erwine. As such, issue preclusion bars re-litigation
13     of the claims for relief in Erwine’s new Complaint, even if brought under the guise of new
14     evidence.
15             Based upon all of the foregoing, Erwine’s claims are barred in their entirety by the
16     doctrine of res judicata.
17     C.      ERWINE CAN BRING NO CLAIMS AGAINST CHURCHILL COUNTY
               AND/OR BEN TROTTER THAT ARE NOT BARRED BY THE APPLICABLE
18             STATUTES OF LIMITATION.
19             Although dismissal is clearly warranted by res judicata, out of an abundance of caution,
20     the Defendants would also note that there are no factual allegations in the new Complaint which
21     describe any alleged conduct or actions taken by Ben Trotter, or anyone associated with
22     Churchill County, which do not date back to the original preparation of the Trotter
23     memorandum, Erwine’s termination from employment with the Churchill County Sheriff’s
24     Office on October 10, 2016, the provision of Erwine’s personnel file to the Washoe County
25     Sheriff’s Office in December of 2016, or one alleged phone conversation between Trotter and
26     someone from LVMPD prior to February 7, 2017.
27             The statute of limitations on Plaintiff’s federal claims for relief premised on §1983 is two
28     years. Perez v. Seevers, 869 F.2d 425, 426 (9th Cir. 1989). There is no plausible cause of action


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 1     which can be maintained by Erwine against Churchill County and/or Ben Trotter given that the
 2     involvement of the moving defendants with Erwine ended in late 2016 or, at the very latest, the
 3     beginning of 2017.
 4            Plaintiff’s state tort claims suffer from the same fatal defect. The statute of limitations
 5     applicable to Erwine’s claims for defamation and defamation per se is two years. See, NRS
 6     11.190(4)(e) and Pickens on behalf of State v. La Villa Vegas, Inc., 137 Nev. 951, 485 P.3d 1248
 7     (Nev. 2021). By admission of the (identical) allegations in both of the cases involving these
 8     parties, Erwine learned of the existence of the Trotter memorandum in April of 2018. See, Doc.
 9     #1, p. 13, §94. The statute of limitations on Plaintiff’s state law claim for intentional interference
10     with prospective employment is three years. Stalk v. Mushkin, 125 Nev. 21, 27, 199 P.3d 838
11     (Nev. 2009). There are no factual allegations in the Plaintiff’s new complaint which identify any
12     conduct or actions of Ben Trotter, or anyone else associated with Churchill County, that occurred
13     beyond, at the latest, February 7, 2017. The statute of limitations on Plaintiff’s state law claims
14     expired years ago.
15            To the extent Plaintiff had any avenue for recovery of damages against Ben Trotter and
16     Churchill County under these state tort claims based upon Judge Jones’ dismissal of same on
17     jurisdictional grounds, Erwine was required to re-file these claims in state court within the time
18     limitations set forth in 28 U.S.C. §1367(d). Specifically, 28 U.S.C. §1367(d) provides that the
19     limitations period for any claim dismissed for lack of supplemental jurisdiction is tolled while an
20     action is pending in federal court and for a period of 30 days after it is dismissed, unless state law
21     provides for a longer tolling period. The decision of the Ninth Circuit Court of Appeals became
22     final on October 5, 2023. See, Exhibit 6, Mandate. The statute of limitations on Plaintiff’s state
23     tort claims was tolled for a period of 30 days thereafter. Erwine did not re-file these state law
24     claims within 30 days and they are all barred by the statute of limitations.
25
       D.     SANCTIONS SHOULD BE IMPOSED AGAINST ERWINE AND BUSBY UNDER
26            FRCP 11.

27            The Court may sanction Erwine and Busby pursuant to FRCP 11, as well as under the

28     Court’s inherent power. Fink v. Gomez, 239 F.3d 989, 992 (9th Cir. 2001). Rule 11 provides


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 1     that, by presenting to the court a pleading, written motion, or other paper – whether by signing,
 2     filing, submitting, or later advocating it – an attorney or unrepresented party certifies that to the
 3     best of the person’s knowledge, information, and belief, formed after an inquiry reasonable under
 4     the circumstances: (1) it is not being presented for any improper purpose, such as to harass, cause
 5     unnecessary delay, or needlessly increase the cost of litigation; (2) the claims, defenses, and
 6     other legal contentions are warranted by existing law or by a nonfrivolous argument for
 7     extending, modifying, or reversing existing law or for establishing new law. The Ninth Circuit
 8     Court of Appeals set out the standard for Rule 11 sanctions in Holgate v. Baldwin, 425 F.3d 671,
 9     676 (9th Cir. 2005) as follows:
10                    “When, as here, a ‘complaint is the primary focus of Rule 11 proceedings, a
                      district court must conduct a two-prong inquiry to determine (1) whether the
11                    complaint is legally or factually baseless from an objective perspective, and (2) if
                      the attorney has conducted a reasonable and competent inquiry before signing and
12                    filing it.’ As shorthand for this test, we use the word “frivolous” to denote a filing
                      that is both baseless and made without reasonable and competent inquiry.”
13
14            The Ninth Circuit Court of Appeals has upheld sanctions awarded against a party where a
15     claim is clearly barred by res judicata. Buster v. Greisen, 104 F.3d 1186 (9th Cir. 1997). In
16     Buster, the Ninth Circuit affirmed the award of sanctions against a party and his attorney after
17     the party re-filed claims in state court alleging facts which had been litigated to conclusion in
18     federal court under ERISA. Id. at 1188. In so doing, the Ninth Circuit stated that the state court
19     action involved the same parties and the same transactional nucleus of facts as the prior suit and
20     that the case filed in state court sought to “relitigate issues that were conclusively resolved in the
21     prior suit.” Id. at 1190. The Court further held that “a reasonable and competent inquiry” would
22     have led counsel and his client to the same conclusion and cited to other of its decisions
23     affirming Rule 11 sanctions based on the filing of frivolous actions which were barred by res
24     judicata. Id. The Court also reiterated that it has held that “successive complaints based upon
25     propositions of law previously rejected may constitute harassment under Rule 11.” Id.
26            The claims filed against Churchill County and Ben Trotter in this case are patently
27     frivolous and clearly barred by res judicata. Not only do the new claims filed against the moving
28     Defendants arise out of the identical nucleus of facts as those in the prior suit, the legal claims


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 1     brought against the Defendants are identical to those which were litigated conclusively in the
 2     prior case. The decision of the Ninth Circuit Court of Appeals, which Busby, on behalf of his
 3     client, appealed without success to the United States Supreme Court, that Erwine has no viable
 4     claim for violation of any due process rights based on a liberty interest (a stigma-plus claim)
 5     against Ben Trotter or Churchill County, leaves no room for debate on this point.
 6            Erwine’s claims against the moving Defendants are legally and factually baseless given
 7     the ruling of the Ninth Circuit Court of Appeals. No competent lawyer could possibly fail to
 8     appreciate the preclusive effect of the Ninth Circuit’s decision on the claims set forth against
 9     Churchill County and Ben Trotter in this case. Erwine and Busby should be sanctioned for their
10     actions in dragging Churchill County and Ben Trotter back into this Court under these
11     circumstances and in blatant disregard of the Ninth Circuit’s decision of March 7, 2023.
12                                                      V
13                                              CONCLUSION
14            Based upon the foregoing, the Defendants respectfully request that the Plaintiff’s
15     Complaint be dismissed with prejudice and without leave to amend as against Churchill County
16     and Ben Trotter for failure to state a claim upon which relief may be granted pursuant to FRCP
17     12(b)(6) and that the Court impose sanctions on Erwine and/or Busby in the amount of all
18     attorney’s fees and costs incurred by the Defendants associated with the instant motion (and any
19     further briefing of same) pursuant to Rule 11 of the Federal Rules of Civil Procedure.
20            DATED this 15th day of February, 2024.
21
                                                     THORNDAL ARMSTRONG, PC
22
23                                                   By:       /s/ Katherine Parks
                                                               KATHERINE F. PARKS, ESQ.
24
                                                               6590 S. McCarran Blvd., Suite B
25                                                             Reno, Nevada 89509
                                                               Attorneys for Defendants
26                                                             CHURCHILL COUNTY and
27                                                             BENJAMIN TROTTER

28


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                                       CERTIFICATE OF SERVICE
 1
 2            Pursuant to FRCP 5(b), I certify that I am an employee of Thorndal Armstrong, PC, and

 3     that on this date I caused the foregoing CHURCHILL COUNTY AND BEN TROTTER’S
 4
       MOTION TO DISMISS PLAINTIFF’S COMPLAINT WITH PREJUDICE AND MOTION
 5
       FOR SANCTIONS PURSUANT TO FRCP 11 to be served on all parties to this action by:
 6
 7            placing an original or true copy thereof in a sealed, postage prepaid, envelope in the

 8     United States mail at Reno, Nevada.
 9      X     United States District Court CM/ECF system
10
       _____ personal delivery
11
       ____   electronic means (fax, electronic mail, etc.)
12
13     _____ Federal Express/UPS or other overnight delivery

14     fully addressed as follows:
15                                            Luke Busby, Esq.
16                                         316 California Ave., #82
                                               Reno, NV 89509
17                                           Attorney for Plaintiff
18
19            DATED this 15th day of February, 2024.

20
                                                          /s/ Laura Bautista
21
                                                    An employee of Thorndal Armstrong, PC
22
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 1                                     INDEX OF EXHIBITS
 2      Exhibit   Description
         No.
 3        1       Order Affirming District Court's Order Granting of Churchill County's MSJ
 4        2       Petition for Panel Rehearing and Rehearing En Banc
          3       Order Denying Petition for Panel Rehearing and Rehearing En Banc
 5        4       Petition for a Writ of Certiorari
          5       Order Denying Petition for Writ of Certiorari
 6
          6       Mandate
 7        7       Order Granting Defendants' Motion for Summary Judgment
          8       Amended Complaint
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